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                             UNITED STATES DISTRICT COURT
  9
                           CENTRAL DISTRICT OF CALIFORNIA
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 11                                            )
       FRANCIS J. RACIOPPI, JR.,               )       Case No.: 2:20-CV-03797-FLA (JCx)
 12                                            )
                          Plaintiff,           )
 13                                            )   ORDER GRANTING IN PART
                    v.                         )   JOINT STIPULATION RE:
 14                                            )   ARBITRATION MOTION [DKT.
       DMITRY BORISOVICH BOSOV,                )   177]
 15    et al.,                                 )
                                               )
 16                       Defendants.          )
                                               )
 17
 18
                                            ORDER
 19
            Having considered Plaintiff Francis J. Racioppi, Jr.’s (“Plaintiff”) and
 20
      Defendants Katerina Bosov, Alltech Investments Ltd., and Goldhawk Investments
 21
      Ltd.’s (the “Bosov Defendants”) Status Report and Joint Stipulation Regarding
 22
      Defendants’ Motion to Dismiss in Favor of Arbitration, IT IS HEREBY ORDERED:
 23
            1.    The joint stipulation is approved in part;
 24
            2.    Further briefing on the Bosov Defendants’ Motion to Dismiss Case in
 25
                  Favor of Arbitration and Join the Genius Fund Defendants’ Motion to
 26
                  Compel Arbitration (the “Motion to Dismiss”) [Dkt. 136] remains
 27
                  stayed pending further order of this court; and
 28
            3.    On or before the earlier of March 29, 2021 or seven (7) days after

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  1             Magistrate Judge Chooljian issues an order or Report and
  2             Recommendation resolving Plaintiff’s Motion for Order Voiding
  3             Transfer of Assets Made in Violation of the Right to Attach Order and
  4             Other Relief filed by Plaintiff Francis J. Racioppi, Jr. (the “Clawback
  5             Motion”) [Dkt. 155], Plaintiff and/or the Bosov Defendants shall either:
  6             (a) notify the court that the Motion to Dismiss has become moot and
  7             take steps to withdraw it; or alternatively (b) file a joint stipulation with
  8             the court stating whether the parties intend to resume litigating the
  9             Motion to Dismiss, and if so, requesting a new hearing date for the
 10             Motion to Dismiss and a new deadline for Defendants to file their reply
 11             brief.
 12
 13       IT IS SO ORDERED.
 14
 15 DATED: January 29, 2021
 16                                        ___________________________________
                                           FERNANDO L. AENLLE-ROCHA
 17                                        United States District Judge
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